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 8                               UNITED STATES DISTRICT COURT
 9                              CENTRAL DISTRICT OF CALIFORNIA
10
11   JAMES WILLIAMS,                       )    CV09-3454-AHM (FFMx)
                                           )
12                       Plaintiff(s),     )    ORDER OF DISMISSAL FOR FAILURE TO
                                           )    PROSECUTE
13           v.                            )
                                           )
14   ASSET MANAGEMENT CO., et al.,         )
                                           )
15                       Defendant(s).     )
                                           )
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18           On September 18, 2009, the Court ordered plaintiffs to show cause in writing,
19   no later than October 5, 2009, why the above-entitled action should not be dismissed
20   as to all remaining defendants for lack of prosecution. To date, plaintiffs have not
21   complied with this order.
22           Accordingly, good cause appearing therefor, the Court hereby DISMISSES this
23   action pursuant to Federal Rule of Civil Procedure 41(b) for failure to prosecute and
24   failure to obey an order of this Court. The Clerk of the Court is directed to close the
25   file.
26           IT IS SO ORDERED.
27   Dated: October 8, 2009
                                                   A. HOWARD MATZ
28   JS-6                                          United States District Judge
